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EIC   Process         flow mobile site                          no connectivity

Phase       I
                 Quick implementation with                                     manual processes



On Site         Greet customer                       and       determine eligibility                   Are they        a   US   citizen      and do they have any of the following

                Texas       driver license                 includes occupational                       license       with     photograph                 unexpired      or expired     less than   60   days
                Texas       identification                 card            unexpired         or expired         less   than      60 days

                Texas concealed                      handgun              license          unexpired         or expired         less      than 60       days
                 United States              military identification                         card     containing        the persons photograph

                United        States passport                         unexpired            or expired         less   than 60      days
                United        States        citizenship               certificate          containing         the    persons photograph


       Persons who                 have     one of the items noted above                                    or who     are not        a   United        States citizens      ie permanent      residents

       asylees         refugees            or    temporary visitors                        are not      eligible     for    an EIC



       If   eligible


                Review            documents

                        o          Proof    of citizenship                     birth      certificate        or naturalization             document

                        o          Proof    of identity                  standard          rules     apply

                Review            completed               application

                Enter       basic     data           into excel            spreadsheet

                        o          First   Middle              Last      Name
                        o          Date     of       Birth


                        o          Mailing           Address

                Scan    documents                         save on          laptop         setting    file    name as first        and       last    name     of   customer

                Capture           portrait                save on          laptop         setting    file    name as first        and       last   name      of   customer

                Provide           customer                with      contact          card Al create card

If   the customer             contact           is    inquiry        only or the person                 is   not    eligible    for       an EIC mark        information       for weekly    EIC   report on

provided         statistic         sheet        not eligible                because         they have         an acceptable               form     of   id not    eligible   because   they didnt have                       the

required         identitycitizenship                       documents                or inquiry only



In   Office

                Connect            laptop        to       network

                Print   out        documents                   preferred             method would              be    direct     transfer to


                Transfer           portrait           image         to     ICS   Workstation           computer TBD email thumb drive
                Search        DLS     for existing                  DL or ID

                If   no record         found search                        EIC   application         ALT 1
                If   no record         found              in   EIC       initiate    EIC    transaction         ALT 2
                Enter       all    biographical                 data

                Check        the     homebound                      flag    system moves               to    ICS           Upload         portrait

                                   Scan     signature

                        0

                System returns to DLS                                scan        documents

                Print   transaction                   receipt

                Mail    receipt        to       applicant

                Notate            assigned           number on top                   of   application

                Process           next application



ALT 1

                DLID        record found

                        o          Mark application                       as   not   eligible

                        o          Notate            dl   or   id   number on top               of   application




                                                                                                                                                                                2:13-cv-193
                                                                                                                                                                                                        exhibitsticker.com




ALT 2
                                                                                                                                                                                09/02/2014
                EIC    record        found

                        o          Process           as    replacement               EIC
                                                                                                                                                                               DEF1456



                                                                                                                                                                                                                                   TEX0506776
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               o      Notate      EIC      number on top               of   application




Close Out




        Provide      statistics    sheet          to   supervisor       for inclusion     in   the weekly   EIC   report

        Fax all     application     forms only not supporting                          identity   documents       to   5124245948
               o      Hold paper copy                  of   application       for 2   business    days then destroy
        Delete images        documents and portraits and spreadsheet                                  data from laptop

               o      Al determine time period before                          deleting

               o      A provide detailed                    deletion    instructions




Customer Support



        Review       applications

        If   EIC   issued

               o      Verify EIC            in the                 and       being processed
                                      is
                                                        system

        If   marked not      eligible

               o      Generate        notification letter to                 customer     Al create   letter


               o      Scan   letter        into    DLID record




                                                                                                                                    TEX0506777
